            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE LEAGUE
OF WOMEN VOTERS OF NORTH CAROLINA,
DONNA   PERMAR,   JOHN   P.   CLARK,
MARGARET B. CATES, LELIA BENTLEY,
REGINA WHITNEY EDWARDS, ROBERT K.
PRIDDY II, WALTER HUTCHINS, AND Civil Action
SUSAN SCHAFFER,                      No. 20-cv-457

        Plaintiffs,

        vs.

THE NORTH CAROLINA STATE BOARD OF           PLAINTIFFS’ MOTION FOR
ELECTIONS; DAMON CIRCOSTA, in his           RECONSIDERATION    AND
official capacity as CHAIR OF THE           MODIFICATION        OF
STATE BOARD OF ELECTIONS; STELLA            PRELIMINARY
ANDERSON, in her official capacity          INJUNCTION AND BRIEF
as SECRETARY OF THE STATE BOARD OF          IN SUPPORT THEREOF
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in his official capacity
as MEMBER OF THE STATE BOARD OF
ELECTIONS; DAVID C. BLACK, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; KAREN
BRINSON   BELL,   in   her   official
capacity as EXECUTIVE DIRECTOR OF
THE STATE BOARD OF ELECTIONS; THE
NORTH    CAROLINA    DEPARTMENT    OF
TRANSPORTATION; J. ERIC BOYETTE, in
his     official      capacity     as
TRANSPORTATION SECRETARY; THE NORTH
CAROLINA DEPARTMENT OF HEALTH AND
HUMAN SERVICES; MANDY COHEN, in her
official capacity as SECRETARY OF
HEALTH AND HUMAN SERVICES,

        Defendants,



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PHILIP E. BERGER, in his official
capacity as PRESIDENT PRO TEMPORE OF
THE NORTH CAROLINA SENATE; TIMOTHY
K. MOORE, in his official capacity
as SPEAKER OF THE NORTH CAROLINA
HOUSE OF REPRESENTATIVES,

         Defendant-Intervenors.



 PLAINTIFFS’ MOTION FOR RECONSIDERATION AND MODIFICATION OF
     PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT THEREOF


                         INTRODUCTION & SUMMARY

       By this Court’s August 4, 2020 Order granting in part

and    denying     in   part    Plaintiffs’    Amended     Motion    for    a

Preliminary Injunction, Plaintiff Walter Hutchins is the one

and only resident in the state of North Carolina who can rely

on nursing home staff to assist him in marking, completing,

and submitting his mail-in absentee ballot. ECF No. 124 at

170-78. Indeed, even at Plaintiff Hutchins’ own nursing home—

The Davis Community, which in compliance with Executive Order

No. 138 has been on lockdown during this pandemic—it is still

unlawful for other residents to obtain the same assistance

that Mr. Hutchins can.

       This   Court     has   found   that   N.C.   Gen.   Stat.    §§   163-

226.3(a)(4)–(6) and 163-231(b)(1) violate Section 208 of the


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Voting Rights Act by unlawfully restricting who may assist

Section       208-covered       nursing      home     residents        in     marking,

completing, and submitting their mail-in absentee ballots.

These laws “suffer[ed] from a fatal constriction” and thus

violated Section 208. ECF No. 124 at 175-76. As a result of

the Court’s legal conclusion, all nursing home residents who

“require[]         assistance     to    vote     by   reason      of        blindness,

disability, or inability to read or write” should be permitted

to receive “assistance by a person of the voter’s choice,

other than the voter’s employer or agent of that employer or

officer or agent of the voter’s union.” 52 U.S.C. § 10508.

Because there is no reason to differentiate between nursing

home residents who are similarly-situated in all material

respects,      Plaintiffs       respectfully        request    that         the    Court

expand       its   injunction     to     cover      all   Section      208-covered

nursing home residents in North Carolina.

       The    Court’s    order,        which   provides       relief         for    only

Plaintiff Hutchins and not all Section 208-covered nursing

home    residents,      was     clearly      erroneous     and    will        lead    to

manifest injustice. See Am. Canoe Ass'n v. Murphy Farms, Inc.,

326 F.3d 505, 515 (4th Cir. 2003)(law of the case guides a

court’s discretion in reconsidering an interlocutory order,

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thus    the    court    can   reconsider      its    interlocutory      orders

because of (1) substantially different evidence presented at

a subsequent trial, (2) new controlling precedent, or (3)

clear error that “would work manifest injustice”) (quoting

Sejman v. Warner–Lambert Co., Inc., 845 F.2d 66, 69 (4th Cir.

1988)).

       This Court has acknowledged that other nursing home

residents      in      locked-down     facilities,        like    The      Davis

Community, are injured by the same federal law violation and

cannot secure assistance from nursing home staff. See ECF No.

124 at 175-76 (“In the present circumstances, many nursing

homes    are   locked     down   and   will      likely   continue   to    have

restricted access for the foreseeable future; 208-voters in

these type of adult care facilities may only come into contact

with “an owner, manager, director, [or] employee” of their

residence      and     therefore     may   not     have   any    options    for

assistance.”) (emphasis added). There is no factual basis to

distinguish Plaintiff Hutchins from other Section 208-covered

residents at The Davis Community and all other North Carolina

nursing homes on lockdown.

       Further, no federal court has ever held that all Section

208-covered voters must be individually identified or bring

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individual actions; nor has any court required that a class

be certified in order to obtain relief enforcing Section 208.

North   Carolina’s   statutory     restrictions     violate    and      are

preempted by Section 208 where a voter “requires assistance

to vote by reason of blindness, disability, or inability to

read or write,” but is barred from securing that assistance

from the person of their choice. 52 U.S.C. § 10508. Only three

facts regarding the Section 208 claim are relevant: (1) there

are North Carolina voters who are residents of nursing homes;

(2) some voters at nursing homes require assistance in voting,

pursuant to Section 208 of the Voting Rights Act, on account

of their blindness, disability, or inability to read or write;

and (3) nursing homes are on lockdown due to the Covid-19

pandemic and as required by Governor Cooper’s Executive Order

Nos. 138, 141, and 155, meaning that nursing home residents

who are entitled to such assistance under Section 208 must be

able to choose an assistant who is within the facility. These

indisputable facts warrant this Court’s extension of the

existing preliminary injunction. If a voter meets those three

criteria (at a nursing home that is on lockdown and in need

of voting assistance), then that voter is, in all material




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respects, no different from Plaintiff Hutchins and entitled

to the same declaratory and injunctive relief.

                               ARGUMENT

    This Court should extend its preliminary injunction to

redress the full scope of the Section 208 violation alleged

by Plaintiffs and found by this Court. The pleadings and

record in this case make clear that the part of the injunction

dealing with the Section 208 claim should embrace and protect

all voters who are disenfranchised in the same way that

Plaintiff Hutchins is. The prayer for relief in the Second

Amended Complaint requested that this Court “[d]eclare that

N.C. Gen. Stat. §§ 163-226.3(a)(4), 163-226.3(a)(5), 163-

226.3(a)(6), 163-230.2(e)(4), 163-231(a) as amended by HB

1169 § 1(a), and 163-231(b)(1) violate Section 208 of the

Voting   Rights   Act,   52   U.S.C.   §   10508”   and   enjoin   those

provisions. ECF No. 30 at 79. It did not seek relief solely

for Plaintiff Hutchins.

    Similarly, Count Nine of the Second Amended Complaint

asserts a claim on behalf of all voters who require, but

cannot request, assistance from the person of their choosing

due to North Carolina’s statutory restriction of assistors to

near relatives, legal guardians, or MATs:

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    183. North Carolina restricts absentee voters to
    only   assistance   from   their   near   relatives,
    verifiable legal guardians, or MAT team members, for
    absentee ballot request return, absentee ballot
    marking and completion, and absentee ballot return.
    Unlike for completing an absentee ballot request
    form, there is no similar exception for any of these
    steps for absentee voters who need assistance by
    reason of their blindness, disability, or inability
    to read or write. See N.C. Gen. Stat. §§ 163-
    226.3(a)(4), 163-226.3(a)(5), 163-226.3(a)(6), 163-
    230.2(e)(4), 163-231(b)(1).

    184. By imposing additional restrictions on who can
    assist a Section 208-covered voter who needs
    assistance with submitting their absentee ballot
    request form, marking and completing their absentee
    ballots, and returning their absentee ballots,
    specifically, by limiting valid assistors to the
    voter’s near relative, legal guardian, or MAT team
    members, N.C. Gen. Stat. §§ 163-226.3(a)(4), 163-
    226.3(a)(5), 163-226.3(a)(6), 163-230.2(e)(4), and
    163-231(b)(1) violate Section 208 of the VRA by
    failing to allow these voters to choose any assistor
    who is not their employer or union representative.

    185. Defendants’ failure to allow eligible voters
    who need assistance by reason of their blindness,
    disability or ability to read or write in any part
    of the absentee voting process, from any person of
    their choice, other than their employers or union
    officials, as described herein, is a violation of
    Section 208.

Id. at 76. Allegations as to Plaintiff Hutchins were intended

to establish standing, not to restrict the requested relief

to that one individual. This Court concluded that Plaintiff

Hutchins has standing to challenge N.C. Gen. Stat. §§ 163-

226.3(a)(4)–(6) and 163-231(b)(1) only to the extent they

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restrict nursing home residents’ ability to secure assistance

from    nursing   home   staff    in    marking,     completing,        and

submitting    their   ballots,   but   Hutchins’    claim    sought      to

invalidate those statutes as to all voters who are entitled

to assistance under Section 208 of the Voting Rights Act, not

just himself.

       The Court agreed that these statutes “suffer[] from a

fatal constriction” and thus violate Section 208. ECF No. 124

at 175. The Court continued:

       Thus, 208-voters must rely on either a near
       relative, a legal guardian, or a MAT if they are
       available before they may choose any other person
       to assist them.

       The court finds these regulations impermissibly
       narrow Section 208’s dictate that a voter may be
       assisted ‘by a person of the voter’s choice, other
       than the voter’s employer or agent of that employer
       or officer or agent of the voter’s union.’ 52 U.S.C.
       § 10508. In the present circumstances, many nursing
       homes are locked down and will likely continue to
       have restricted access for the foreseeable future;
       208-voters in these type of adult care facilities
       may only come into contact with “an owner, manager,
       director, [or] employee” of their residence and
       therefore may not have any options for assistance.
       More significantly, it does not appear to this court
       that a 208-voter — one who is blind, like Plaintiff
       Hutchins, can be prohibited by state law from
       choosing the individual to assist them in voting.
       With those facts in mind, the court is satisfied
       that North Carolina’s laws violate Section 208.




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Id.    (emphases     added).    The   Court    rightly     identified      the

problem, finding that “many nursing homes are locked down and

will likely continue to have restricted access” such that

“208-voters,” of which Mr. Hutchins is just one example, will

not be able to request assistance from a person of their

choosing.      Id.   The    Court’s       factual    findings   and     legal

conclusions      (e.g.,     that   “North     Carolina’s    laws      violate

Section 208”) inexorably point to the conclusion that the

injunctive relief should cover all 208-voters who are in the

same situation as Plaintiff Hutchins. The Court need not

specifically identify each and every person in that situation

to     issue    adequate,      uniform      relief    enfranchising        all

individuals who simply cannot secure help from relatives,

guardians, or MATs from inside a locked-down nursing home

facility.

       This Court’s existing remedy is far narrower than the

legal violation it has found. See Califano v. Yamasaki, 442

U.S. 682, 702 (1979) (“[T]he scope of injunctive relief is

dictated by the extent of the violation established[.]”); Va.

Soc'y for Human Life, Inc. v. FEC, 263 F.3d 379, 393 (4th

Cir. 2001) (“An injunction should be carefully addressed to

the circumstances of the case” (citing Hayes v. N. State Law

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Enforcement Officers Ass'n, 10 F.3d 207, 217 (4th Cir. 1993));

cf. Ostergren v. Cuccinelli, 615 F.3d 263, 288-89 (4th Cir.

2010) (“Once a constitutional violation is found, a federal

court is required to tailor the scope of the remedy to fit

the    nature    and    extent    of   the    constitutional    violation.”

(quoting Dayton Bd. of Educ. v. Brinkman, 433 U.S. 406, 420

(1977)).      Restricting      relief    to    Mr.   Hutchins   is    neither

commensurate with nor adequate to redress the widespread

denial of federal statutory rights identified by this Court.

       Based on the record evidence and other facts of which

this     Court    may   take     judicial     notice,1    Plaintiff   Walter

Hutchins’ situation is no different from that of countless

voters living in nursing homes across North Carolina who

require assistance pursuant to Section 208. As long as this

Court takes judicial notice of three facts that are beyond

dispute, it becomes clear that the preliminary injunction

that issued to enforce Mr. Hutchins’ rights under Section 208

should      be    extended       to    cover     all     similarly-situated



1 Federal Rule of Evidence 201(b) provides that this Court
may take judicial notice of “a fact that is not subject to
reasonable dispute because it: (1) is generally known within
the trial court's territorial jurisdiction; or (2) can be
accurately and readily determined from sources whose accuracy
cannot reasonably be questioned.”
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individuals throughout the state, even in the absence of any

certified class. These facts include that: (1) there are North

Carolina voters who are residents of nursing homes; (2) some

voters    at   nursing    homes    require    assistance    in   voting,

pursuant to Section 208 of the Voting Rights Act, on account

of their blindness, disability, or inability to read or write;

and (3) nursing homes are on lockdown due to the Covid-19

pandemic and as required by Governor Cooper’s Executive Order

Nos. 138, 141, and 155, meaning that nursing home residents

who are entitled to such assistance under Section 208 must be

able to choose an assistant who is within the facility.

“[T]here are no relevant regional or localized facts that

would    counsel   in    favor    of    limiting   the   scope   of      the

injunction” and leaving other courts free to hear different

Section 208 claims applied to different factual scenarios.

Roe, 359 F. Supp. 3d at 422.

    As to the first and third facts, Plaintiff Hutchins’

declaration makes clear that he is a Section 208 voter at a

nursing home who requires assistance to mark, cast, and submit

his mail-in ballot. See ECF No. 11-9, Hutchins Decl. ¶¶ 1, 6,

9-12. Indeed, this Court has already acknowledged in its Order




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that Mr. Hutchins is far from alone in these circumstances.

ECF No. 124 at 175-76.

       As to the second fact, Section 7.A of Governor Cooper’s

Executive Order No. 138, which has been extended through

September 11, 2020, by Executive Order Nos. 141 and 155,2

prohibits visitation at facilities like Mr. Hutchins’: “Long

term    care   facilities     shall      restrict   visitation    of      all

visitors and non-essential health care personnel, except for

certain compassionate care situations, for example, an end-

of-life    situation.”3     These   three    Executive   Orders,       which

successively incorporate and extend Section 7 of Executive

Order No. 138, make it unlawful for nursing homes like The

Davis Community to open to visitation in any circumstance

other than death; voting assistance is not a permissible,

enumerated exception to the rule. The Court has already found

that “many nursing homes are locked down and will likely



2 Executive Order No. 141 (“Phase 2 Order”) (May 20, 2020),
Section                                                10.B,
https://files.nc.gov/governor/documents/files/EO141-Phase-
2.pdf; Executive Order No. 155 (Aug. 5, 2020), Section I,
https://files.nc.gov/governor/documents/files/EO155-
Extension-of-Phase-2.pdf (extending EO No. 141 through
September 11, 2020).
3    Executive   Order    No.    138    (May    5,    2020),
https://files.nc.gov/governor/documents/files/EO138-Phase-
1.pdf.
                                    12


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continue    to   have    restricted        access    for   the   foreseeable

future; 208-voters in these type of adult care facilities may

only come into contact with ‘an owner, manager, director,

[or] employee’ of their residence and therefore may not have

any options for assistance. . . . With those facts in mind,

the court is satisfied that North Carolina’s laws violate

Section    208.”   ECF    No.   124    at    175-76    (emphasis     added).

Accordingly, this Court has already found all the facts that

it needs to accord full relief to all residents of locked-

down long-term care facilities in North Carolina who are

entitled to voting assistants of their choice under Section

208. In finding that other nursing home residents like Mr.

Hutchins will experience the same denial of their rights and

the same injury, this Court has already found that nursing

home residents are in a catch-22, caught between the state

law restriction on assistance and the lockdown order for their

facilities in Executive Order No. 138.

    An     extension     of   this    Court’s       injunctive    relief   is

warranted, even in the absence of a certified class. Because

these state laws and orders are applicable uniformly and on

a statewide basis, this case necessarily concerns “more than

disparate incidents.” See, e.g., Nick v. Bethel, Case No.

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3:07-cv-0098 TMB, 2008 WL 11456134, at *5 (D. Alaska July 30,

2008)    (issuing         broadly-applicable       injunctive    relief    for

denial of Section 208 rights to voters who require assistance

during in-person voting, even in absence of certified class).

       The   law     in     the    Fourth     Circuit    holds   that     class

certification is not required to obtain relief that covers

all individuals injured by a challenged law or policy. In

Thomas v. Washington County School Board, the Fourth Circuit

explained that

       [t]he fact that [the plaintiff] did not bring a
       class action is of no moment. . . . This is so
       because the settled rule is that whether plaintiff
       proceeds as an individual or on a class suit basis,
       the requested [injunctive] relief generally will
       benefit not only the claimant but all other persons
       subject to the practice or the rule under attack[.]

915 F.2d 922 (4th Cir. 1990) (quoting Sandford v. R.L. Coleman

Realty Co., 573 F.2d 173 (4th Cir. 1978)); see also Allen v.

Lloyd's of London, No. CIV. A. 3:96CV522, 1996 WL 490177, at

*62 (E.D. Va. Aug. 23, 1996) (noting that in countless cases

finding violation of § 14(a) of the 1934 Securities Exchange

Act, scope of the relief was shareholder-wide, even though

none    of   those    cases       were   brought    as   class   actions    and

collecting cases), rev'd on other grounds, 94 F.3d 923 (4th

Cir.    1996).     Other     circuits       have   concurred,    noting    that

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“[w]hile injunctive relief generally should be limited to

apply   only   to       named    plaintiffs     where       there    is   no   class

certification,          ‘an     injunction      is    not    necessarily       made

overbroad by extending benefit or protection to persons other

than prevailing parties in the lawsuit-even if it is not a

class   action      .    .    .’”    Easyriders       Freedom       F.I.G.H.T.   v.

Hannigan, 92 F.3d 1486, 1501 (9th Cir. 1996) (quoting Bresgal

v. Brock, 843 F.2d 1163, 1170-71 (9th Cir. 1987) (emphasis in

Bresgal)).

    Courts have particularly found broader injunctive relief

beyond that issued for the named plaintiffs is warranted to

address harms felt generally and statewide. Where “there are

no relevant regional or localized facts that would counsel in

favor of limiting the scope of the injunction to the named

plaintiffs,” courts are free to order relief that covers all

individuals      injured        by    a   law    or    policy       of    statewide

application, regardless of whether all injured individuals

are before the Court or whether a class has been certified.

Roe v. Shanahan, 359 F. Supp. 3d 382, 422 (E.D. Va. 2019),

aff'd sub nom. Roe v. Dep't of Def., 947 F.3d 207 (4th Cir.

2020), as amended (Jan. 14, 2020). Indeed, this Court has

held that injunctions protecting the rights of non-parties

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are not overbroad and has rejected the notion that such

injunctions “may impede the ‘percolation’ of legal issues

through the court system, depriving higher courts of the

benefit of additional voices and fact patterns.” Guilford

College   v.   Wolf,   No.    1:18CV891,    2020   WL   586672,    at    *11

(M.D.N.C. Feb. 6, 2020). In Guilford College v. Wolf, this

Court rejected the government’s argument for limiting the

injunction to the named plaintiffs, noting that “Plaintiffs’

challenge ‘presents purely . . . narrow issue[s] of law’”

which are “not fact-dependent and will not vary from one

locality to another.” Id. (citing City of Chi. v. Sessions,

888 F.3d 272, 290–91 (7th Cir. 2018) (“There are some legal

issues which benefit from consideration in multiple courts.

. . . But a determination as to the plain meaning of a sentence

in a statute is not such an issue.”)).

    This precedent governs the issuance of injunctions in

many civil rights, anti-discrimination, and voting rights

cases. See, e.g., Evans v. Harnett County Bd. of Educ., 684

F.2d 304, 305 (4th Cir. 1982) (“An injunction warranted by a

finding of unlawful discrimination is not prohibited merely

because it confers benefits upon individuals who are not

plaintiffs     or   members   of   a    formally   certified      class”);

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Sandford, 573 F.2d at 179 (ordering “remand[ ] to the District

Court for the entry of such injunctive relief in favor of the

plaintiff Issac and any other blacks who, in the future, may

be denied equal access to housing under the defendant's

control”).

    To the extent this Court’s decision to issue far narrower

relief rested on an understanding of whether this case was

facial or as-applied, Plaintiffs submit that the “facial versus

as applied” dichotomy does not map particularly well onto

conflict preemption claims like this one. See United States

v. South Carolina, 840 F. Supp. 2d 898, 914 (D.S.C. 2011)

(“To the extent the plaintiffs are able to establish that

portions   of   [the   challenged       state   law]   are preempted by

federal law pursuant to the rules of preemption . . . , the

‘facial’     nature     of    plaintiffs'        challenge     is        not

important.”), modified in part, 906 F. Supp. 2d 463 (D.S.C.

2012), aff'd, 720 F.3d 518 (4th Cir. 2013). In Doe v. Reed,

the Supreme Court made clear that a claim can have both

“facial” and “as-applied” aspects, and that if such a claim

challenges a statute with respect to a subgroup of people or

conduct to which it applies, then the “standards for a facial

challenge” must be satisfied, but only “to the extent of that

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reach.” 561 U.S. 186, 194 (2010) (emphasis added). In full,

Chief Justice Roberts wrote:

       The parties disagree about whether Count I is
       properly viewed as a facial or as-applied challenge.
       Compare Reply Brief for Petitioners 8 (“Count I
       expressly made an as-applied challenge”) with Brief
       for Respondent Reed 1 (“This is a facial challenge
       to Washington's Public Records Act”). It obviously
       has characteristics of both: The claim is “as
       applied” in the sense that it does not seek to strike
       the PRA in all its applications, but only to the
       extent it covers referendum petitions. The claim is
       “facial” in that it is not limited to plaintiffs'
       particular case, but challenges application of the
       law more broadly to all referendum petitions.

       The label is not what matters. The important point
       is that plaintiffs' claim and the relief that would
       follow—an injunction barring the secretary of state
       “from making referendum petitions available to the
       public,” App. 16 (Complaint Count I)—reach beyond
       the particular circumstances of these plaintiffs.
       They must therefore satisfy our standards for a
       facial challenge to the extent of that reach. See
       United States v. Stevens, 559 U.S. 460, 472 – 473,
       130 S.Ct. 1577, 1587, 176 L.Ed.2d 435 (2010).

Id.

       Applying that framework here, to be sure, Plaintiff

Hutchins has not sought full facial invalidation of N.C. Gen.

Stat. §§ 163-226.3(a)(4)–(6) and 163-231(b)(1). But the only

voters in nursing homes with standing to bring a Section 208

claim     will    be   those   to   whom   N.C.    Gen.   Stat.    §§   163-

226.3(a)(4)–(6) and 163-231(b)(1) are unlawfully applied.

Accordingly, whether this preemption challenge is labeled
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“facial” or “as applied” is immaterial, because as to the

group of voters in nursing homes who need and are entitled to

assistance        under     Section     208—the        only     individuals        with

standing       to     bring     this        claim—there        are     zero    lawful

applications of the challenged laws, N.C. Gen. Stat. §§ 163-

226.3(a)(4)–(6) and 163-231(b)(1). Accordingly, this Court

has     already      found     facts        and     reach      legal    conclusions

establishing that, “to the extent of [the Section 208 claim’s]

reach,” Doe v. Reed, 561 U.S. at 194, which embraced all

nursing      home     residents        in    North      Carolina       entitled     to

assistance          under     Section        208,      there     are    no     lawful

applications of the challenged laws.

                                  CONCLUSION

       For the foregoing reasons, Plaintiffs request that their

Motion      for      Reconsideration             and    Modification          of    the

Preliminary Injunction be granted and that the preliminary

injunction be modified to afford the same relief provided to

Plaintiff Walter Hutchins to all residents of facilities

subject to N.C. Gen. Stat. §§ 163-226.3(a)(4)–(6) and 163-

231(b)(1) who are entitled to voting assistance pursuant to

Section 208 of the Voting Rights Act.

Dated: August 24, 2020.                           Respectfully submitted,

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                         WORD CERTIFICATION

    Pursuant     to   Local    Rule      7.3(d)(1),    the     undersigned

certifies that the word count for PLAINTIFFS’ MOTION FOR

RECONSIDERATION AND MODIFICATION OF PRELIMINARY INJUNCTION

AND BRIEF IN SUPPORT THEREOF is 3,718 words. The word count

excludes the case caption, signature lines, cover page, and

required    certificates       of        counsel.     In     making   this

certification, the undersigned has relied upon the word count

of Microsoft Word, which was used to prepare the brief.

                                              /s/ Jon Sherman

                                              Jon Sherman




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                         CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that, on August

24,     2020,    PLAINTIFFS’      MOTION    FOR    RECONSIDERATION          AND

MODIFICATION OF PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT

THEREOF was served on all counsel of record by electronic

filing via the CM/ECF system.


                                                /s/ Jon Sherman
                                                Jon Sherman




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